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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

 In re:                                            )
                                                   )       Chapter 7
 LAM T. NGUYEN and                                 )
 THU A. NGUYEN,                                    )       Case No. 24-80028
                                                   )
                  Debtors.                         )       Judge Thomas M. Lynch


      NOTICE OF HEARING ON UNITED STATES TRUSTEE’S MOTION FOR
           EXTENSION OF TIME TO FILE A MOTION TO DISMISS
        PURSUANT TO 11 U.S.C. § 707(b)(3) OR A COMPLAINT OBJECTING
                TO DISCHARGE PURSUANT TO 11 U.S.C. § 727

       PLEASE TAKE NOTICE that on April 17, 2024, at 11:00 a.m., I will appear before the
Honorable Thomas M. Lynch, or any judge sitting in that judge’s place, either in courtroom 3100 of
the U.S. Bankruptcy Court for the Northern District of Illinois, Stanley J. Roszkowski U.S.
Courthouse, 327 South Church Street, Rockford, Illinois 61101, or electronically as described below,
and present the United States Trustee’s motion for extension of time to file a motion to dismiss or a
complaint objecting to discharge, a copy of which is attached.
     All parties in interest, including the movant, may appear for the presentment of the
motion either in person or electronically using Zoom for Government.
          You may appear electronically by video or by telephone.
       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and passcode.
       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
Then enter the meeting ID and passcode.
       Meeting ID and password. The meeting ID for this hearing is 160 291 5226 and the
passcode is 852255. The meeting ID and passcode can also be found on Judge Lynch’s webpage on
the court’s website, https://www.ilnb.uscourts.gov/content/judge-thomas-m-lynch.
        If you object to this motion and want it called on the presentment date above, you must file
a Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the motion will be called on the presentment date. If no Notice of Objection is timely
filed, the court may grant the motion in advance without calling it.

 Dated:     April 9, 2024                         Respectfully submitted,

 Office of the U.S. Trustee                       PATRICK S. LAYNG, United States Trustee
 780 Regent Street, Suite 304
 Madison, Wisconsin 53715                   By:   /s/ Jennifer K. Niemeier
 (608) 264-5522, extension 5643                   Jennifer K. Niemeier
 Jennifer.Niemeier@usdoj.gov                      Attorney for the United States Trustee
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                               UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
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 In re:                                              )
                                                     )       Chapter 7
 LAM T. NGUYEN and                                   )
 THU A. NGUYEN,                                      )       Case No. 24-80028
                                                     )
                    Debtors.                         )       Judge Thomas M. Lynch



                              UNITED STATES TRUSTEE’S
                  MOTION FOR EXTENSION OF TIME TO FILE A MOTION
               TO DISMISS PURSUANT TO 11 U.S.C. § 707(b)(3) OR A COMPLAINT
                  OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. § 727

          The United States Trustee for the Northern District of Illinois, Western Division, Patrick S.

Layng, by his attorney, Jennifer K. Niemeier, and pursuant to Rules 1017(e) and 4004(b) of the Federal

Rules of Bankruptcy Procedure (F.R.B.P.), respectfully moves the Court for an order extending the

time for filing a motion to dismiss pursuant to 11 U.S.C. § 707(b)(3) or a complaint objecting to the

debtors’ discharge pursuant to 11 U.S.C. § 727.     In support of this motion, the United States Trustee

states the following:

          1.       The debtors in this case, Lam T. Nguyen and Thu A. Nguyen (“Debtors”), filed a

voluntary petition under chapter 7 of Title 11 of the United States Code on January 8, 2024.        The

Debtors are represented in this case by Attorney David Stretch (“Debtors’ Attorney”). Brian Hart

(“Trustee Hart”) is the chapter 7 trustee.

          2.       On February 1, 2024, Debtors’ Attorney was informed that this case had been selected

for an audit and that, among other things, the Debtors were to provide the audit firm with specific

documents.

          3.       Trustee Hart called first Section 341 Meeting of Creditors on February 13, 2024 (“341


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Meeting”), however the meeting could not be conducted because the Debtors failed to appear. As a

result, the 341 Meeting was adjourned to March 12, 2024 (“Adjourned 341 Meeting”).

       4.      On February 20, 2024, the U.S. Trustee requested that Debtors’ Attorney provide the

United States Trustee with copies of the documents that were requested by the audit firm.

       5.      Trustee Hart attempted to conduct the Adjourned 341 Meeting on March 12, 2024,

but continued the meeting after limited testimony because the Debtors failed to provide the required

341 Meeting documents prior to the meeting. The 341 Meeting was again adjourned to April 9, 2024

(“Second Adjourned 341 Meeting”).

       6.      The U.S. Trustee has received most, but not all, of the documents responsive to his

request.

       7.      After reviewing the documents and information provided, the U.S. Trustee believes

there may be cause to file a motion to dismiss or a complaint objecting to the Debtors’ discharge.

       8.      The U.S. Trustee needs additional time to receive and review the remaining documents

requested from the Debtors and to participate in the Second Adjourned 341 Meeting.

       9.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with the duty of supervising the

administration of cases filed under chapter 7, which includes determining if cause may exist for

dismissal of the case or denial of the Debtors’ discharge.   In order to perform this duty, the U.S.

Trustee needs accurate and complete information from the Debtors concerning their personal income

and expenses and financial affairs.   Without the benefit of the Debtors’ 341 Meeting testimony and

requested documents, the U.S. Trustee cannot determine if there is cause to file a motion to dismiss

pursuant to 11 U.S.C. § 707(b)(3) or a complaint objecting to the Debtors’ discharge pursuant to

11 U.S.C. § 727.

       10.     Pursuant to F.R.B.P. 1017(e)(1), the deadline to file a motion to dismiss under

11 U.S.C. § 707(b)(3) is April 15, 2024.   Pursuant to F.R.B.P. 4004(a), April 15, 2024, is also the


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deadline for filing a complaint objecting to the Debtors’ discharge.

       11.     The U.S. Trustee needs additional time to receive and review documents from the

Debtors, question the Debtors at a section 341 meeting of creditors, and determine whether a Rule

2004 examination may be necessary, and therefore requests an extension of time, through June 14,

2024, to file a motion to dismiss pursuant to 11 U.S.C. § 707(b)(3) or a complaint objecting to the

Debtors’ discharge pursuant to 11 U.S.C. § 727.

       WHEREFORE, for the reasons set forth above, the U.S. Trustee respectfully requests entry

of an order extending the time to file a complaint objecting to the Debtors’ discharge pursuant to

11 U.S.C. § 727 or a motion to dismiss pursuant to 11 U.S.C. § 707 to and including June 14, 2024.



 Dated:   April 9, 2024                           Respectfully submitted,

 Office of the U.S. Trustee                       PATRICK S. LAYNG
 780 Regent Street, Suite 304                     United States Trustee
 Madison, Wisconsin 53715
 (608) 264-5522, extension 5643            By:    /s/ Jennifer K. Niemeier
 Jennifer.Niemeier@usdoj.gov                      Jennifer K. Niemeier
                                                  Attorney for the United States Trustee




                                  CERTIFICATE OF MAILING


      The undersigned hereby certifies that on April 9, 2024, copies of the United States Trustee’s
Notice of Hearing and Motion for Extension of Time to File a Motion to Dismiss or an Objection to
Debtors’ Discharge were served by electronic mail from the Clerk of the United States Bankruptcy
Court for the Northern District of Illinois via the Clerk’s ECF system on the chapter 7 trustee, Brian
Hart, and Debtors’ attorney, David Stretch.



                                                       /s/ James C. Dreier, Jr.
                                                       James C. Dreier, Jr.
                                                       Paralegal Specialist


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